Case 1:21-cr-00371-BMC-TAM Document 173 Filed 08/26/22 Page 1 of 2 PageID #: 4969

                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
  RCH/SPN/HDM/CRH                                     271 Cadman Plaza East
  F. #2018R01309                                      Brooklyn, New York 11201

                                                      August 26, 2022

  By ECF

  The Honorable Brian M. Cogan
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:     United States v. Rashid Sultan Rashid Al Malik Alshahhi, et al.
                        Criminal Docket No. 21-371 (S-1) (BMC)

  Dear Judge Cogan:

                 The parties respectfully submit this proposed joint agenda for the final pretrial
  conference in the above-captioned matter scheduled for August 29, 2022, at 9:30 a.m.

        Trial Schedule: The parties seek to confirm the current trial schedule. The parties
         understand that the Court will be starting voir dire on September 19 and sitting on the
         following days:
             o September 19, 20, 21, 22
             o September 28, 29 and 30 (starting at 1:15 p.m.)
             o October 3, October 4 (ending at 3:30 or 4 p.m.), October 6, October 7 (starting at
                1:15 p.m.)
             o October 11, 12, 13, 14 (starting at 1:15 p.m.)

        Voir Dire: On August 23, 2022, the parties submitted a joint letter listing the jurors that
         both parties agree should be struck for cause based on their written responses on the juror
         questionnaires. On August 26, 2022, the parties separately submitted proposals for the
         Court to consider with respect to the remaining jurors. The parties seek to confirm how
         the Court intends to proceed with voir dire, how potential jurors showing up will be
         ordered, the number of peremptory strikes and manner to use them.

        Outstanding Motions: There are several pending motions before the Court, including
         several fully briefed motions (the defendants’ motion for severance and the defendants’
         motions for Rule 17 subpoenas), and several motions that are not yet fully briefed (the
Case 1:21-cr-00371-BMC-TAM Document 173 Filed 08/26/22 Page 2 of 2 PageID #: 4970




            defendants’ motions in limine, the defendants’ motions to exclude the governments’
            experts and the governments’ motions in limine).

           Space in Courthouse: Defendants would request if available the use of workrooms in the
            courthouse (as that has been done in other complex cases, where, as here, the defendants
            are managing significant documentation in exhibits, 3500 material and other documents).

           Technology for Courtroom: The parties request time in the week of September 12 to set up
            courtroom technology for the presentation of evidence, and we request guidance on
            coordination with Your Honor’s deputy.



                                                       Respectfully submitted,

                                                       BREON PEACE
                                                       United States Attorney

                                                By:      /s/
                                                       Ryan C. Harris
                                                       Samuel P. Nitze
                                                       Hiral D. Mehta
                                                       Craig R. Heeren
                                                       Assistant U.S. Attorneys
                                                       (718) 254-7000

                                                       MATTHEW G. OLSEN
                                                       Assistant Attorney General
                                                       Department of Justice
                                                       National Security Division

                                                By:    /s/ Matthew J. McKenzie
                                                       Matthew J. McKenzie
                                                       Trial Attorney

  cc:       Counsel for Thomas Joseph Barrack (by ECF)
            Counsel for Matthew Grimes (by ECF)
            Clerk of the Court (BMC) (by ECF)




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